                Case 19-17984-mkn         Doc 29      Entered 04/15/20 22:01:38        Page 1 of 5
                                       United States Bankruptcy Court
                                            District of Nevada
In re:                                                                                  Case No. 19-17984-mkn
JERMAINE KING                                                                           Chapter 7
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0978-2           User: admin                  Page 1 of 3                   Date Rcvd: Apr 13, 2020
                               Form ID: 318                 Total Noticed: 60


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 15, 2020.
db             +JERMAINE KING,    1445 STONELAKE COVE AVE, APT 7101,      HENDERSON, NV 89074-7906
aty            +SETH D BALLSTAEDT,     THE BALLSTAEDT LAW FIRM,    9555 S. EASTERN AVE, STE #285,
                 LAS VEGAS, NV 89123-8009
tr             +SHELLEY D KROHN,    PO Box 34690,     LAS VEGAS, NV 89133-4690
11059284       +Best Storage,    Acct No x1468,     3290 E Oleta Avenue,    Henderson, NV 89074-6800
11059285       +Budget Dental,    Acct No 6283,     6376 Spring Mountain Rd Ste 3,    Las Vegas, NV 89146-8818
11141609        CONN APPLIANCES, INC.,     C/O BECKET AND LEE LLP,    PO BOX 3002,    MALVERN PA 19355-0702
11031849      ++CONTINENTAL FINANCE COMPANY LLC,      PO BOX 8099,   NEWARK DE 19714-8099
               (address filed with court: Continental Finance Company,        Acct No xxxxxxxxxxxx4336,
                 Attn: Bankruptcy,     Po Box 8099,    Newark, DE 19714)
11031844       +Caine & Weiner,    Acct No xxxx8053,     Attn: Bankruptcy,    5805 Sepulveda Blvd,
                 Sherman Oaks, CA 91411-2546
11031848       +Conns,    Acct No xxxxx7530,    Attn: Bankruptcy,    2445 Technology Forest Blvd, Bldg 4, Ste,
                 The Woodlands, TX 77381-5259
11059292       +Cox Communications,     Acct No xxxxx5910,    6205-B Peachtree Dunwoody Road,
                 Atlanta, GA 30328-4524
11031853       +Dept. of Employment, Training & Rehab,      Employment Security Division,     500 East Third Street,
                 Carson City, NV 89713-0002
11059304       +Flamingo Smiles Dental,     Acct No 6283,    9516 W Flamingo Rd Ste 200,
                 Las Vegas, NV 89147-5750
11031859       +Fortiva,    Acct No xxxxxxxxxxxx4060,     Attn: Bankruptcy,    Po Box 105555,
                 Atlanta, GA 30348-5555
11059306       +Geico Insurance,    Acct No xxxxxx4594,     5260 Western Avenue,    Chevy Chase, MD 20815-3701
11059311       +Liberty Mutual Insurance,     Acct No xxx-xxx-xxxx37-70,     175 Berkeley Street,
                 Boston, MA 02116-5066
11059312       +Lifetime Fitness,    Acct No xxxxx4905,     5100 North River Road,    Schiller Park, IL 60176-1058
11059314      #+NASM,    Acct No 6283,    1750 E Northrop Blvd Ste 200,     Chandler, AZ 85286-1744
11031865       +Nissan Motor Acceptanc,     Acct No xxxxxx1126,    Attn: Bankruptcy,     Po Box 660360,
                 Dallas, TX 75266-0360
11059317       +Numale Medical,    Acct No xxx-xx-6283,     5052 S Jones Blvd Ste 145,     Las Vegas, NV 89118-0556
11059319       +One Nevada Credit Union,     Acct No xxxxx6773,    2370 E Serene Avenue Ste 260,
                 Las Vegas, NV 89123-3297
11059323       +Perfect Smile Dental,     Acct No 6283,    8965 S Eastern Avenue Ste 100,
                 Las Vegas, NV 89123-4892
11059324       +SNAP RTO LLC,    Acct No xxxxxxxx79NV,     P.O. BOX 26561,    Salt Lake City, UT 84126-0561
11079761       +TTI FLOOR CARE NORTH AMERICA,     Acct No xxxxx47WB,     8405 IBM Drive,    Charlotte, NC 28262-4331
11059325       +The Keystone School,     Acct No xxxxx4_pln,    920 Central Road,    Bloomsburg, PA 17815-8990
11031870       +Total Visa/Bank of Missouri,     Acct No xxxxxxxxxxxx4841,     Attn: Bankruptcy,    Po Box 85710,
                 Sioux Falls, SD 57118-5710
11059333       +Wells Fargo,    Acct No 0515,    1411 W Sunset Rd,    Henderson, NV 89014-6611

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: USTPRegion17.LV.ECF@usdoj.gov Apr 14 2020 04:31:34         U.S. TRUSTEE - LV - 7,
                 300 LAS VEGAS BOULEVARD, SO.,     SUITE 4300,    LAS VEGAS, NV 89101-5803
cr             +EDI: ATLASACQU.COM Apr 14 2020 07:53:00        ATLAS ACQUISITIONS LLC (as),
                 ATLAS ACQUISITIONS LLC,    294 UNION ST,    HACKENSACK, NJ 07601-4303
cr             +EDI: AISACG.COM Apr 14 2020 07:53:00       Capital One Auto Finance, a division of Capital On,
                 4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
11031843       +E-mail/Text: backoffice@affirm.com Apr 14 2020 04:32:26         Affirm Inc,    Acct No xxxxJ6FS,
                 Affirm Incorporated,    Po Box 720,    San Francisco, CA 94104-0720
11085929       +EDI: ATLASACQU.COM Apr 14 2020 07:53:00        Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
11059283       +EDI: BANKAMER2.COM Apr 14 2020 07:53:00        Bank of America,    Acct No 3344,
                 100 North Tryon Street,    Charlotte, NC 28255-0001
11031845       +EDI: CAPITALONE.COM Apr 14 2020 07:53:00        Capital One,    Acct No xxxxxxxxxxxx5479,
                 Attn: Bankruptcy,    Po Box 30285,    Salt Lake City, UT 84130-0285
11031846       +EDI: CAPITALONE.COM Apr 14 2020 07:53:00        Capital One,    Acct No xxxxxxxxxxxx8124,
                 Attn: Bankruptcy,    Po Box 30285,    Salt Lake City, UT 84130-0285
11031847       +EDI: CAPONEAUTO.COM Apr 14 2020 07:53:00        Capital One Auto Finance,
                 Acct No xxxxxxxxxxxxx1001,    Attn: Bankruptcy,     Po Box 30285,    Salt Lake City, UT 84130-0285
11031850       +E-mail/PDF: creditonebknotifications@resurgent.com Apr 14 2020 04:39:23          Credit One Bank,
                 Acct No xxxxxxxxxxxx5682,    Attn: Bankruptcy Department,      Po Box 98873,
                 Las Vegas, NV 89193-8873
11031851       +E-mail/PDF: creditonebknotifications@resurgent.com Apr 14 2020 04:39:26          Credit One Bank,
                 Acct No xxxxxxxxxxxx1614,    Po Box 98872,     Las Vegas, NV 89193-8872
11059295       +E-mail/Text: group_legal@creditunion1.org Apr 14 2020 04:32:13         Credit Union 1,
                 Acct No xxxx9736,    2651 Paseo Verde Pkwy,     Henderson, NV 89074-6616
11059298        EDI: DIRECTV.COM Apr 14 2020 07:53:00       DirecTv,    Acct No xxxx7629,     2230 E. Imperial Hwy,
                 El Segundo, CA 90245
11031852       +E-mail/Text: electronicbkydocs@nelnet.net Apr 14 2020 04:31:40
                 Department of Education/Nelnet,     Acct No xxxxxxxxxxx4286,     Attn: Claims,    Po Box 82505,
                 Lincoln, NE 68501-2505
11031854       +EDI: BLUESTEM Apr 14 2020 07:53:00       Fingerhut,    Acct No xxxxxxxxxxxx9647,
                 Attn: Bankruptcy,    Po Box 1250,    Saint Cloud, MN 56395-1250
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                               Form ID: 318                 Total Noticed: 60


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
11031855       +E-mail/Text: bankruptcy@firstelectronic.com Apr 14 2020 04:32:24         First Electronic Bank,
                 Acct No xxxxxxxxxxxx2321,    Attn: Bankruptcy,     Po Box 521271,    Salt Lake City, UT 84152-1271
11031858       +EDI: AMINFOFP.COM Apr 14 2020 07:53:00        First PREMIER Bank,    Acct No xxxxxxxxxxxx2798,
                 Attn: Bankruptcy,    Po Box 5524,   Sioux Falls, SD 57117-5524
11031860       +EDI: PHINGENESIS Apr 14 2020 07:53:00        Genesis Bc/Celtic Bank,    Acct No xxxxxxxxxxxx5242,
                 Attn: Bankruptcy,    Po Box 4477,   Beaverton, OR 97076-4401
11031861       +EDI: IIC9.COM Apr 14 2020 07:53:00       I.c. System, Inc,    Acct No xxxx1874,    Attn: Bankruptcy,
                 Po Box 64378,    St. Paul, MN 55164-0378
11059310       +EDI: IRS.COM Apr 14 2020 07:53:00       IRS,    PO BOX 7346,   Philadelphia, PA 19101-7346
11031863        E-mail/Text: ml-ebn@missionlane.com Apr 14 2020 04:29:24        Mission Lane/tab Bank,
                 Acct No xxxxxxxxxxxx4490,    Po Box 105286,     Atlanta, GA 30304
11031864       +E-mail/Text: tax-bankruptcy@tax.state.nv.us Apr 14 2020 04:31:52
                 Nevada Dept. of Taxations, Bankruptcy,      555 E Washington Ave, #1300,
                 Las Vegas, NV 89101-1046
11031867        E-mail/Text: bankruptcynotices@onenevada.org Apr 14 2020 04:29:25         One Nevada CU,
                 Acct No xxxxxxxxxxxx4316,    Attn: Bankruptcy,     2645 South Mojave Rd,    Las Vegas, NV 89121
11031866        E-mail/Text: bankruptcynotices@onenevada.org Apr 14 2020 04:29:25         One Nevada Credit Unio,
                 Acct No xxxxxxx7320,    2645 S Mojave,    Las Vegas, NV 89121
11031868       +E-mail/Text: opportunitynotices@gmail.com Apr 14 2020 04:32:02         Opportunity Financial, LLC,
                 Acct No xxxxxxx1982,    Attn: Bankruptcy,     130 East Randolph St. Ste 3400,
                 Chicago, IL 60601-6379
11031869       +E-mail/Text: opportunitynotices@gmail.com Apr 14 2020 04:32:02         Opportunity Financial, LLC,
                 Acct No xxxxxxx8215,    Attn: Bankruptcy,     130 East Randolph St. Ste 3400,
                 Chicago, IL 60601-6379
11033518       +EDI: PRA.COM Apr 14 2020 07:53:00       PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
11031871       +EDI: ECMC.COM Apr 14 2020 07:53:00       U.S. Department of Education,     Acct No xxxx6178,
                 Ecmc/Bankruptcy,    Po Box 16408,   Saint Paul, MN 55116-0408
11059329       +EDI: USBANKARS.COM Apr 14 2020 07:53:00        US Bank,   Acct No 6283,    2300 W Sahara Avenue,
                 Las Vegas, NV 89102-4352
11059331       +EDI: ECMC.COM Apr 14 2020 07:53:00       US Dept of Education,     Acct No 831,   Attn: Bankruptcy,
                 Po Box 16448,    Saint Paul, MN 55116-0448
11031873       +EDI: ECMC.COM Apr 14 2020 07:53:00       US Dept of Education,     Acct No xxxxxxxxxxx3186,
                 Attn: Bankruptcy,    Po Box 16448,   Saint Paul, MN 55116-0448
11031874       +EDI: ECMC.COM Apr 14 2020 07:53:00       US Dept of Education,     Acct No xxxxxx2831,
                 Attn: Bankruptcy,    Po Box 16448,   Saint Paul, MN 55116-0448
11031872       +E-mail/Text: USTPRegion17.LV.ECF@usdoj.gov Apr 14 2020 04:31:34         United States Trustee,
                 300 Las Vegas Blvd. South #4300,    Las Vegas, NV 89101-5803
11031875       +EDI: VERIZONCOMB.COM Apr 14 2020 07:53:00        Verizon Wireless,    Acct No xxxxxxxxxx0001,
                 Attn: Verizon Bankruptcy,    500 Technology Dr, Ste 500,     Weldon Springs, MO 63304-2225
                                                                                                TOTAL: 34

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
11031856         First Premier Bank,    Acct No xxxxxxxxxxxx8495
11059301         First Premier Bank,    Acct No xxxxxxxxxxxx8495
11031857         First Premier Bank,    Acct No xxxxxxxxxxxx1944
11059302         First Premier Bank,    Acct No xxxxxxxxxxxx1944
cr*              CONN APPLIANCES, INC.,    C/O BECKET AND LEE LLP,     PO BOX 3002,    MALVERN, PA 19355-0702
cr*             +PRA RECEIVABLES MANAGEMENT, LLC,     PO BOX 41021,    NORFOLK, VA 23541-1021
11059282*       +Affirm Inc,   Acct No xxxxJ6FS,    Affirm Incorporated,     Po Box 720,
                  San Francisco, CA 94104-0720
11059291*      ++CONTINENTAL FINANCE COMPANY LLC,     PO BOX 8099,    NEWARK DE 19714-8099
                (address filed with court: Continental Finance Company,       Acct No xxxxxxxxxxxx4336,
                  Attn: Bankruptcy,    Po Box 8099,    Newark, DE 19714)
11059286*       +Caine & Weiner,    Acct No xxxx8053,    Attn: Bankruptcy,    5805 Sepulveda Blvd,
                  Sherman Oaks, CA 91411-2546
11059287*       +Capital One,    Acct No xxxxxxxxxxxx5479,    Attn: Bankruptcy,     Po Box 30285,
                  Salt Lake City, UT 84130-0285
11059288*       +Capital One,    Acct No xxxxxxxxxxxx8124,    Attn: Bankruptcy,     Po Box 30285,
                  Salt Lake City, UT 84130-0285
11059289*       +Capital One Auto Finance,    Acct No xxxxxxxxxxxxx1001,     Attn: Bankruptcy,    Po Box 30285,
                  Salt Lake City, UT 84130-0285
11059290*       +Conns,   Acct No xxxxx7530,    Attn: Bankruptcy,     2445 Technology Forest Blvd, Bldg 4, Ste,
                  The Woodlands, TX 77381-5259
11059293*       +Credit One Bank,    Acct No xxxxxxxxxxxx5682,     Attn: Bankruptcy Department,    Po Box 98873,
                  Las Vegas, NV 89193-8873
11059294*       +Credit One Bank,    Acct No xxxxxxxxxxxx1614,     Po Box 98872,    Las Vegas, NV 89193-8872
11059296*       +Department of Education/Nelnet,    Acct No xxxxxxxxxxx4286,     Attn: Claims,    Po Box 82505,
                  Lincoln, NE 68501-2505
11059297*       +Dept. of Employment, Training & Rehab,     Employment Security Division,     500 East Third Street,
                  Carson City, NV 89713-0002
11059299*       +Fingerhut,   Acct No xxxxxxxxxxxx9647,     Attn: Bankruptcy,    Po Box 1250,
                  Saint Cloud, MN 56395-1250
11059300*       +First Electronic Bank,    Acct No xxxxxxxxxxxx2321,     Attn: Bankruptcy,    Po Box 521271,
                  Salt Lake City, UT 84152-1271
11059303*       +First PREMIER Bank,    Acct No xxxxxxxxxxxx2798,     Attn: Bankruptcy,    Po Box 5524,
                  Sioux Falls, SD 57117-5524
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                                      Form ID: 318                       Total Noticed: 60


             ***** BYPASSED RECIPIENTS (continued) *****
11059305*        +Fortiva,   Acct No xxxxxxxxxxxx4060,    Attn: Bankruptcy,    Po Box 105555,
                   Atlanta, GA 30348-5555
11059307*        +Genesis Bc/Celtic Bank,    Acct No xxxxxxxxxxxx5242,    Attn: Bankruptcy,    Po Box 4477,
                   Beaverton, OR 97076-4401
11059308*        +I.c. System, Inc,   Acct No xxxx1874,     Attn: Bankruptcy,   Po Box 64378,
                   St. Paul, MN 55164-0378
11031862*         Internal Revenue Service,    PO Box 7346,    Philadelphia, PA 19101-7346
11059309*         Internal Revenue Service,    PO Box 7346,    Philadelphia, PA 19101-7346
11059313*       ++MISSION LANE LLC,   PO BOX 105286,    ATLANTA GA 30348-5286
                 (address filed with court: Mission Lane/tab Bank,      Acct No xxxxxxxxxxxx4490,    Po Box 105286,
                   Atlanta, GA 30304)
11059315*        +Nevada Dept. of Taxations, Bankruptcy,     555 E Washington Ave, #1300,
                   Las Vegas, NV 89101-1046
11059316*        +Nissan Motor Acceptanc,    Acct No xxxxxx1126,    Attn: Bankruptcy,    Po Box 660360,
                   Dallas, TX 75266-0360
11059320*       ++ONE NEVADA CREDIT UNION,    ATTN COLLECTIONS,    2645 S MOJAVE RD,   LAS VEGAS NV 89121-1238
                 (address filed with court: One Nevada CU,      Acct No xxxxxxxxxxxx4316,    Attn: Bankruptcy,
                   2645 South Mojave Rd,    Las Vegas, NV 89121)
11059318*       ++ONE NEVADA CREDIT UNION,    ATTN COLLECTIONS,    2645 S MOJAVE RD,   LAS VEGAS NV 89121-1238
                 (address filed with court: One Nevada Credit Unio,      Acct No xxxxxxx7320,    2645 S Mojave,
                   Las Vegas, NV 89121)
11059321*        +Opportunity Financial, LLC,    Acct No xxxxxxx1982,    Attn: Bankruptcy,
                   130 East Randolph St. Ste 3400,    Chicago, IL 60601-6379
11059322*        +Opportunity Financial, LLC,    Acct No xxxxxxx8215,    Attn: Bankruptcy,
                   130 East Randolph St. Ste 3400,    Chicago, IL 60601-6379
11059326*        +Total Visa/Bank of Missouri,    Acct No xxxxxxxxxxxx4841,    Attn: Bankruptcy,    Po Box 85710,
                   Sioux Falls, SD 57118-5710
11059327*        +U.S. Department of Education,    Acct No xxxx6178,    Ecmc/Bankruptcy,    Po Box 16408,
                   Saint Paul, MN 55116-0408
11059330*        +US Dept of Education,    Acct No xxxxxxxxxxx3186,    Attn: Bankruptcy,    Po Box 16448,
                   Saint Paul, MN 55116-0448
11059328*        +United States Trustee,    300 Las Vegas Blvd. South #4300,    Las Vegas, NV 89101-5803
11059332*        +Verizon Wireless,   Acct No xxxxxxxxxx0001,     Attn: Verizon Bankruptcy,
                   500 Technology Dr, Ste 500,    Weldon Springs, MO 63304-2225
                                                                                                TOTALS: 4, * 33, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 15, 2020                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 13, 2020 at the address(es) listed below:
              ATLAS ACQUISITIONS LLC (as)   bk@atlasacq.com
              SETH D BALLSTAEDT   on behalf of Debtor JERMAINE KING help@bkvegas.com,
               ballstaedtecf@gmail.com;r49890@notify.bestcase.com
              SHELLEY D KROHN   shelley@trusteekrohn.com,
               NV27@ecfcbis.com;becca@trusteekrohn.com;jan@trusteekrohn.com
              U.S. TRUSTEE - LV - 7   USTPRegion17.LV.ECF@usdoj.gov
                                                                                            TOTAL: 4
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Information to identify the case:
Debtor 1              JERMAINE KING                                               Social Security number or ITIN   xxx−xx−6283
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court District of Nevada

Case number: 19−17984−mkn



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           JERMAINE KING

                                                                          By the court:              Mary A. Schott
           4/13/20                                                                                   Clerk of Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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